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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                NORTHERN DIVISION

JOHN DOE                                                                                 PLAINTIFF

VS.                                                 CIVIL ACTION NO: 3:24-cv-547-HTW-LGI

JANE ROE                                                                               DEFENDANT


 PLAINTIFF’S REPLY TO DEFENDANT’S RESPONSE TO MOTION FOR LEAVE
TO FILE COMPLAINT UNDER PSEUDONYM, TO PROCEED PSEUDONYMOUSLY,
                AND TO FILE MATERIALS UNDER SEAL


        Plaintiff is the victim of a shakedown. When Jane Roe threatened to publish lies about

him—intending to blackmail Plaintiff into paying her millions of dollars—Plaintiff filed this

lawsuit to preserve his reputation, establish the truth, and put a stop to her scheme. For the sake

of his family, and out of respect for Roe’s family as well, Plaintiff titled this action “John Doe

vs. Jane Roe.”

        A public figure who seeks to defend himself against extortion faces an impossible choice:

By reporting the threat, he risks—and, in the end, almost always suffers anyway—the same harm

that the extortionist has illegally threatened to inflict. Plaintiff knew that filing suit against Roe

under his actual name in the public docket would cause the same irreparable harm to his

reputation and goodwill that he sought to avoid through this lawsuit against Roe. Faced with that

grim and unjust prospect, Plaintiff asked this Court to permit him to prosecute his lawsuit under

pseudonyms—both for him and for Roe.1




1
 Although not obligated to do so, Plaintiff requested pseudonym treatment for both parties. The
“Motion” refers to Plaintiff’s September 13, 2024 Motion for Leave to File Complaint Under
Pseudonym, to Proceed Pseudonymously, and to File Materials Under Seal [Doc. 4]. Unless
otherwise noted, all emphasis is added, and all internal citations are omitted.
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        Rather than allow this Court to consider and adjudicate Plaintiff’s request, Roe wrested

the decision from the Court. While Plaintiff’s Motion to proceed under a pseudonym was

pending, and before it was even fully briefed, Roe’s counsel, Douglas Wigdor, revealed to CNN

that Plaintiff was world-famous musician and humanitarian Garth Brooks.2 CNN published

Roe’s counsel’s on-the-record quote on October 3, 2024, two days after Roe represented to this

Court that she purportedly “respects this Court’s authority to decide whether Mr. Doe can

proceed under a pseudonym.” [Doc. 11 at 2]. Her unilateral decision to usurp that authority

shows otherwise.

        Roe’s public identification of Plaintiff to CNN, whose report was immediately picked up

and broadcast by hundreds of other media outlets, mooted Plaintiff’s Motion before the Court

could consider its merits. Because Roe’s public disclosures prevent the Court from issuing any

effective relief, Plaintiff regretfully concedes that the Court should deny Plaintiff’s Motion as

moot.

                                 RELEVANT BACKGROUND

        This Lawsuit. Once a trusted member of Plaintiff’s professional team, Roe devised a

malicious scheme to blackmail Plaintiff into paying her millions of dollars after he rejected her

request for salaried employment and medical benefits. Taking aim at Plaintiff’s stellar public

image and selfless philanthropic work, she repeatedly approached Plaintiff with threats to

broadcast vile lies about Plaintiff and his family unless he paid her off.

        Plaintiff filed this action on September 13, 2024, along with his Motion seeking leave to

proceed with the litigation under pseudonyms. [Doc. 1].




2
 https://www.cnn.com/2024/10/03/entertainment/garth-brooks-accused-sexual-
assault/index.html, last visited Oct. 4, 2024

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       Roe Opposed the Motion “in Full.” Roe opposed Plaintiff’s Motion on October 1, 2024.

[Doc. 11, 12]. She unequivocally argued that the Motion “should be denied in full.”3 [Doc 11

at 1]. Despite Plaintiff’s willingness to preserve his extortionist’s anonymity, Roe further

offered that she was “willing to proceed using her name here if this Court believes that is

necessary in denying Plaintiff’s motion.” [Doc. 11 at 12 n.11].

       The heart of Roe’s scheme was her persistent threat to publicly disclose false claims

about Plaintiff that would imperil his business and reputation, including through litigation that

she advised the Court she would file in California. Her October 1, 2024 opposition proclaimed

that nothing “prevent[ed] Ms. Roe from commencing” a separate lawsuit “immediately and using

[Plaintiff’s] identity.” [Id. at 2]. Nevertheless, Roe assured the Court in her October 1

opposition to the Motion that, because she “respect[ed] this Court’s authority to decide whether

Mr. Doe can proceed under a pseudonym, she will wait until later this week to make sure there is

no objection from this Honorable Court before filing her California action in this manner.” [Id.

at 2]. She concluded: “Ms. Roe respectfully requests that she may commence her California

action as she intended to do, and use Mr. Doe’s name, absent objection from this Honorable

Court.” [Id. at 24].

          DEFENDANT’S PUBLIC DISCLOSURE OF PLAINTIFF’S IDENTITY

       Rather than allow this Court to rule on Plaintiff’s Motion, Roe short-circuited the judicial

process and flouted this Court’s authority. It now appears that was her intention all along.

Despite vowing on October 1 to wait to learn whether the Court had any objection to her



3
  Despite opposing the Motion, Roe at times appears to suggest that she should still be permitted
to preserve her anonymity, even though denial of Plaintiff’s Motion in full would mean the
disclosure of both parties’ identities—after all, Plaintiff moved to keep both parties’ names
confidential. And Roe did not file her own Motion seeking to litigate this case under a
pseudonym.

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disclosing Plaintiff’s name in a California action, Roe leaked Plaintiff’s identity to the press less

than 48 hours later.

       On October 3, 2024, Roe filed a lawsuit against Plaintiff in California state court bearing

the caption “Jane Roe v. Garth Brooks” and pleading many of the same false allegations against

Plaintiff that she had included in prior blackmail correspondence. Roe’s California complaint

referred to Plaintiff’s lawsuit by its name, court, and case number. But the press did not learn

Mr. Brooks’s identity from the California lawsuit—it was Roe’s attorneys, eager to litigate in the

media, who were the first to publicly disclose his name. CNN published an article about the

dispute even before Roe’s California lawsuit was on file and available on a public docket.

CNN’s publication also quoted Roe’s counsel making derisive statements about this lawsuit.4

       Leaving no doubt about her intent to circumvent this Motion and leak Plaintiff’s name,

Roe’s attorneys appear to have emailed media outlets an early copy of Roe’s California

complaint that bears the legend “UNFILED” on each page and contains no file-stamp from the

California state court. That can mean only one thing: the press obtained the copy from Roe or

her lawyers. Within one hour, reports of Plaintiff’s identity were everywhere, including TMZ,

Inside Edition, Entertainment Tonight, Variety, The Hollywood Reporter, People magazine, US

magazine, USA Today, CNN, ABC News, CBS News, NBC News, the New York Times, the Wall

Street Journal, Law360, and many other media outlets.

       CNN’s article, as one example, quoted Wigdor at length—and not just about the

California complaint. CNN reported: “Roe’s attorneys told CNN that Brooks’ ‘efforts to silence

our client through the filing of a preemptive complaint in Mississippi was…” [See n. 1, above].




4
 https://www.cnn.com/2024/10/03/entertainment/garth-brooks-accused-sexual-
assault/index.html, last visited Oct. 4, 2024

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In other words, Roe’s attorneys explicitly informed CNN that the “Doe” Plaintiff in this action is

Mr. Brooks, usurping the Court’s ability to consider or rule on this Motion.

       There is no legitimate reason for Roe to jump the gun and circumvent this Court’s

authority. Her allegations against Plaintiff set forth in the California action are based on conduct

that occurred more than five years ago. Plaintiff is unaware of any urgency that would require

Roe to file the California complaint before the Court could rule on this Motion.

       The only reasonable explanation is that Roe seized an opportunity to injure Plaintiff by

stripping this Court of its power to consider and adjudicate Plaintiff’s request to proceed under

pseudonyms. If Roe could wait five years to file a lawsuit against Plaintiff, she could have

waited until this Court ruled on the Motion. And, even if there were some emergency that

required her to file immediately (which there was not), this Court provides ex parte procedures

that Roe could have used to obtain an immediate ruling.

       Instead, she gave the Court fewer than 48 hours after filing her opposition before publicly

leaking Plaintiff’s identity to the press. And she did so knowing that—because this matter was

not yet fully briefed—the Court would likely have no idea she had even asked whether it

“object[ed]” to her revealing Plaintiff’s name in a California lawsuit.5 Her defiance of this

Court’s authority was intentional.

      PLAINTIFF WILL RE-FILE HIS COMPLAINT WITHOUT PSEUDONYMS

       The Motion has been rendered moot by Roe’s disclosure of Plaintiff’s identity in the

press and in the later filing of her lawsuit in California. Had Roe wished to continue pursuing

her false allegations, she could have asserted them as counterclaims in this case—in the


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  Roe’s opposition appears to invite the Court to “object” to her forthcoming California pleading.
[Doc 11 at 2]. But, as her attorneys well know, it is not standard practice for courts to begin
reviewing motions that are not fully briefed. This Motion was not set to be fully briefed until
October 8, 2024.

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jurisdiction where she and other witnesses reside, and where she committed the extortion that is

at the heart and soul of this case.

        For all these reasons, and given Roe’s willingness to proceed under her name in this

litigation, Plaintiff requests that the Court deny his Motion as moot. Plaintiff will refile his

Complaint without pseudonyms forthwith.

        Dated: October 8, 2024.

                                             Respectfully submitted,

                                             JOHN DOE

                                             By: /s/ M. Patrick McDowell
                                                 M. Patrick McDowell,
                                                 One of His Attorneys



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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this date I electronically filed the foregoing with the Clerk of the

Court using the ECF system, which sent notification of such filing to all counsel of record.

       Dated: October 8, 2024.

                                                      /s/ M. Patrick McDowell
                                                      M. Patrick McDowell




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